Case:20-12377-MER Doc#:578 Filed:10/02/20                         Entered:10/02/20 14:27:02 Page1 of 4




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO

     In re:                                             §
                                                        §    Chapter 11
                                                        §
     SKLAR EXPLORATION COMPANY,                         §
     LLC, et al.,1                                      §    Case No. 20-12377-EEB
                                                        §
                                                        §
              Debtors.                                  §    (Jointly Administered)

      EX PARTE MOTION FOR EXAMINATION OF HOWARD SKLAR PURSUANT TO
                FED. R. BANKR. P. 2004 AND LOCAL BANKR. R. 2004-1

              The Official Committee of Unsecured Creditors (the “Committee”) of Sklar Exploration

 Company, LLC, (“SEC”), appointed in the above-captioned, jointly-administered bankruptcy

 cases (the “Cases”), of SEC and Sklarco, LLC (“Sklarco”, and collectively with SEC, the

 “Debtors”), files this Ex Parte Motion for Examination of Howard Sklar Pursuant to Fed. R.

 Bankr. P. 2004 and Local Bankr. R. 2004-1 (the “2004 Motion”) and respectfully requests entry

 of an order authorizing the Committee to examine Howard Sklar, individually, regarding the pre-

 petition operation of the Debtors, as well as the Debtors’ transactions with Howard Sklar and

 various related corporate entities, trusts, individuals and other insiders.

                                               BACKGROUND

              1.     On April 1, 2020, each of the Debtors filed a voluntary petition under Chapter 11

 of the Bankruptcy Code with this Court, and by order of this Court, their corresponding bankruptcy

 Cases are jointly administered under Chapter 11 Case No. 20-12377. [Dkt. No. 8].

              2.     On April 16, 2020, the undersigned counsel was retained by the Committee. Since

 the Committee’s retention, the Committee has been in extensive discussion with counsel for the



 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
 number, are as follows: Sklar Exploration Company, LLC (7930) and Sklarco, LLC (5432).
                                                         1
 4837-6444-1291v.1
Case:20-12377-MER Doc#:578 Filed:10/02/20                    Entered:10/02/20 14:27:02 Page2 of 4




 Debtors regarding, among other things, the use of cash collateral, plans of reorganization, and

 Howard Sklar.

                                           BASIS FOR RELIEF

          3.         Federal Rule of Bankruptcy Procedure 2004 and Local Rule of Bankruptcy

 Procedure 2004-1 permit the examination of any entity with respect to “discovering assets

 examining transactions, and determining whether wrongdoing has occurred.” Fed. R. Bankr. P.

 2004; L.R.B.P. 2004-1. “The purpose of a Rule 2004 examination is to determine the condition,

 extent, and location of the debtor’s estate in order to maximize distribution to unsecured creditors.”

 In re Lufkin, 255 B.R. 204, 208 (Bankr. E.D. Tenn. 2000).

          4.         A party in interest therefore “may use Rule 2004 to determine the nature and extent

 of a bankruptcy estate and to ascertain whether wrongdoing has occurred.” In re Hilsen, 2008 WL

 2945996, at *4 (Bankr. S.D.N.Y. Jul. 25, 2008); In re Recoton Corp., 307 B.R. 751, 755 (Bankr.

 S.D.N.Y. 2004) (“The purpose of a Rule 2004 examination is to assist a party in interest in

 determining the nature and extent of the bankruptcy estate, revealing assets, examining

 transactions and assessing whether wrongdoing has occurred.”). “Any third party who has a

 relationship with a debtor may be made subject to a Rule 2004 investigation.” In re Recoton Corp.,

 307 B.R. 751, 755 (Bankr. S.D.N.Y. 2004).

          5.         The scope of a Rule 2004 examination is “extremely broad,” and has even been

 likened by some courts to a “lawful ‘fishing expedition.’” Id. (quoting Bank One, Columbus, N.A.

 v. Hammond (In re Hammond), 140 B.R. 197, 201 (S.D. Ohio 1992)). “The scope of a [ ] Rule

 2004 examination is ‘unfettered and broad.’ Its purpose is to facilitate the discovery of assets and

 the unearthing of frauds and has been likened to a quick ‘fishing expedition’ into general matters

 and issues regarding the administration of the bankruptcy case.” In re Bakalis, 199 B.R. 443, 447

 (Bankr. E.D.N.Y. 1996) (quoting In re GHR Energy Corp., 33 B.R. 451, 453 (Bankr. D. Mass.
                                            2
 4837-6444-1291v.1
Case:20-12377-MER Doc#:578 Filed:10/02/20                     Entered:10/02/20 14:27:02 Page3 of 4




 1983). The standard for granting a Rule 2004 examination is whether the movant has established

 “good cause.” In re Hammond, 140 B.R. 197, 201 (S.D. Ohio 1992).

          6.         Rule 2004 examinations are an appropriate tool for investigating fraudulent transfer

 claims in particular. See Rhodes v. Litig. Trust of the Rhodes Cos., LLC (In re Rhodes Cos., LLC),

 475 B.R. 733 (D. Nev. 2012) (“the subpoenas were an appropriate method of investigating

 potential fraudulent transfer claims”); Kirschner v. Agoglia (In re Refco Inc.), 461 B.R. 181, 187

 (Bankr. S.D.N.Y. 2011) (listing rule 2004 as one of the “several sections of the Bankruptcy Code

 … [that] govern the trustee or debtor in possession’s unique role in investigating … fraudulent

 transfer claims ….”).

                                      RESERVATION OF RIGHTS

          7.         The Committee reserves the right to seek additional discovery as appropriate.

                                                  PRAYER

          8.         For the reasons set forth herein, the Committee respectfully requests that this Court

 enter an order authorizing the examination of Howard Sklar, individually, on the issues raised

 herein and related to this case on no less than fourteen (14) days-notice.




                                                       3
 4837-6444-1291v.1
Case:20-12377-MER Doc#:578 Filed:10/02/20               Entered:10/02/20 14:27:02 Page4 of 4




 Respectfully submitted this 1st day of October, 2020

                                                     MUNSCH HARDT KOPF & HARR, P.C.

                                                     By: /s/ Christopher D. Johnson _________
                                                     Christopher D. Johnson
                                                     Texas Bar No. 24012913
                                                     John D. Cornwell
                                                     Texas Bar No. 24050450
                                                     Grant M. Beiner
                                                     Texas Bar No. 24116090
                                                     700 Milam Street, Suite 2700
                                                     Houston, Texas 77002
                                                     Telephone: (713) 222-1470
                                                     Facsimile: (713) 222-1475
                                                     cjohnson@munsch.com
                                                     jcornwell@munsch.com
                                                     gbeiner@munsch.com

                                                     COUNSEL FOR
                                                     THE OFFICIAL COMMITTEE
                                                     OF UNSECURED CREDITORS


                                CERTIFICATE OF SERVICE

         This will certify that a true and correct copy of the foregoing document was forwarded by
 electronic transmission to all registered ECF users appearing in the case on October 1, 2020.

                                                     /s/ Grant M. Beiner
                                                     Grant M. Beiner




                                                4
 4837-6444-1291v.1
